             Case 3:19-cv-03422-SI Document 20-6 Filed 08/13/19 Page 1 of 3



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 8                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
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10   CASEY ROBERTS, Individually and on
     Behalf of All Others Similarly Situated,   Case No. 3:19-cv-03422-SI
11
                   Plaintiff,                   [PROPOSED] ORDER GRANTING
12                                              DANISH PARBTANI’S MOTION FOR
            v.
                                                APPOINTMENT AS LEAD PLAINTIFF
13                                              AND APPROVAL OF LEAD COUNSEL
     ZUORA, INC., TIEN TZUO, and TYLER
14   SLOAT,

15               Defendants.
                                                CLASS ACTION
16
                                                Judge: Hon. Susan Illston
17                                              Date: October 4, 2019
                                                Time: 10:00 a.m.
18                                              Courtroom: 1 – 17th Floor
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      [PROPOSED] ORDER GRANTING DANISH PARBTANI’S MOTION FOR APPOINTMENT AS LEAD
               PLAINTIFF AND APPROVAL OF LEAD COUNSEL NO. 3:19-cv-03422-SI
                 Case 3:19-cv-03422-SI Document 20-6 Filed 08/13/19 Page 2 of 3



 1          WHEREAS, the above-captioned putative class action under Sections 10(b) and 20(a) of the

 2 Securities Exchange Act of 1934 (the “Exchange Act”) has been filed in the Northern District of

 3 California; and

 4          WHEREAS, Danish Parbtani (“Parbtani”) filed a timely motion to be appointed Lead

 5 Plaintiff; and

 6          WHEREAS, Parbtani has the largest financial interest in the relief sought by the Class and

 7 otherwise satisfies the requirements of Section 21 of the Exchange Act and Rule 23 of the Federal

 8 Rules of Civil Procedure; and

 9          WHEREAS, in accordance with Section 21(a)(3)(B)(v) of the Exchange Act, 15 U.S.C. §

10 78u-4(a)(3)(B)(v), Parbtani seeks approval of his selection of Faruqi & Faruqi, LLP to serve as

11 Lead Counsel for the Class.

12          AND NOW THIS ____ day of _________________ 2019, the Court having considered the

13 motion of Parbtani For Appointment as Lead Plaintiff and Approval of Lead Counsel and all

14 supporting documents, it is hereby ORDERED as follows:

15                                          LEAD PLAINTIFF

16          1.       The motion of Parbtani to serve as Lead Plaintiff in the Action is GRANTED.

17 Pursuant to Section 21 of the Exchange Act, 15 U.S.C. § 78u-4(a)(3)(B), Parbtani is appointed as

18 Lead Plaintiff for the putative Class.

19                                           LEAD COUNSEL

20          2.       The motion of Parbtani for approval of his counsel as Lead Counsel is GRANTED.

21 Pursuant to Section 21 of the Exchange Act, 15 U.S.C. § 78u-4(a)(3)(B)(v), Faruqi & Faruqi, LLP

22 is approved to serve the Lead Plaintiff and the Class as Lead Counsel.

23 IT IS SO ORDERED.

24 DATED: __________________

25                                               ___________________________________________
                                                 THE HONORABLE SUSAN ILLSTON
26                                               UNITED STATES DISTRICT JUDGE
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                                                    1
       [PROPOSED] ORDER GRANTING DANISH PARBTANI’S MOTION FOR APPOINTMENT AS LEAD
                PLAINTIFF AND APPROVAL OF LEAD COUNSEL NO. 3:19-cv-03422-SI
              Case 3:19-cv-03422-SI Document 20-6 Filed 08/13/19 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2         I hereby certify that on August 13, 2019, I authorized the electronic filing of the foregoing

 3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

 4 the e-mail addresses denoted on the Electronic Mail Notice List.

 5                                               By:     /s/ Benjamin Heikali
                                                             Benjamin Heikali
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                                       CERTIFICATE OF SERVICE
